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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALI FORNI


UNITED STATES OF AMERICA,

                        Plaintiff,
                 vs.                       JUDGMENT OF DISMISSAL
CHOSEN 1 LLC (8)
                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

     18:1956(h) Money Laundering Conspiracy; 18:371 Conspiracy to

     Structure Currency Deposits; 31:5324(a) (3) Structuring Conspiracy

     Deposits.

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JUNE 12, 2014
                                            D~rtiCk'
                                            u.S. Magistrate Judge
